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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND

Robert Zanni,

Plaintiff,

VS.

Penncro Associates, Inc., and

John Doe, alias,

Defendants.

 

Complaint

Introduction

The Plaintiff brings this action alleging the Defendants engaged in harassing, abusive
and prohibited conduct while attempting to collect a debt from him in violation of the
federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692, ef seg. (““FDCPA”).
The Plaintiff seeks statutory damages, actual damages, costs and attorney fees under
the FDCPA.

The Plaintiff also alleges the Defendants’ conduct constituted a deceptive practice in
violation of the Rhode Island Deceptive Trade Practices Act, 6-13.1.-1 ef seq.
(“DTPA”). The Plaintiff seeks statutory damages, actual damages, costs, attorney
fees, and punitive damages under the DTPA.

Jurisdiction and Venue

This Court has jurisdiction to hear the FDCPA claims in this matter pursuant to 15
U.S.C. § 1692k(d) and 28 U.S.C. § 1337(a).

This Court has supplemental jurisdiction to hear the state law DTPA claims pursuant
to 28 U.S.C. § 1367(a).

Venue in this District is proper pursuant to 28 U.S.C. § 1391(b) because the Plaintiff
is a resident of this District and the conduct complained of took place, via the
telephone and mail, in this District.

 
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Parties

Plaintiff Robert Zanni is an adult resident of the County of Providence, State of
Rhode Island.

The Defendant Penncro Associates, Inc. (Penncro) is a foreign corporation, registered
with the Rhode Island Secretary of State to, and doing, business in Rhode Island.

The Defendant John Doe, alias, is an employee or agent of Penncro whose true
identity is unknown to the Plaintiff but known, or knowable, to Penncro.

Facts Common To Alli Counts

At all times relevant to this Complaint, Penncro was engaged in the business of
regularly collecting debts, originally owed to third parties, using the mail and
telephones to communicate with residents of Rhode Island.

At all times relevant to this Complaint, John Doe, alias, was engaged in the business
of regularly collecting debts, originally owed to third parties, using the mail and/or
telephone to communicate with residents of Rhode Island.

At all times relevant to this Complaint, Penncro was a “Debt Collector” as defined by
the FDCPA at 15 U.S.C. § 1692(a)(6).

At all times relevant to this Complaint, John Doe, alias, was a “Debt Collector” as
defined by the FDCPA at 15 U.S.C. § 1692(a)(6).

Within the past year, Penncro placed phone call to, engaged in telephone
conversations with, and sent at least one letter to, the Plaintiff while acting as a Debt
Collector attempting to collect an alleged debt from the Plaintiff.

Within the past year John Doe, alias, placed phone calls to and engaged in telephone
conversations with the Plaintiff, and/or sent the Plaintiff a letter, while acting as a
Debt Collector attempting to collect an alleged debt from the Plaintiff.

The alleged debt arose from purchases of goods or services primarily for personal,
family or household purposes. Hereinafter the alleged debt shall be referred to simply
as the Debt.

On May 17, 2009, the Plaintiff filed a petition under Chapter 7 of the U.S.
Bankruptcy Code.

The Plaintiff listed the Debt on his petition and the Court sent a Notice to the creditor,
Bank of America.
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In August 2009, the Debt was discharged by the Bankruptcy Court.

On July 3, 2009, Penncro left a message for the Plaintiff on his mother’s answering
machine.

The Plaintiff returned the call, spoke with a Penncro agent, and told Penncro a) that
they had called his mother’s number and not his and b) that he had included the Debt
on the bankruptcy petition he filed.

Penncro asked for, and the Plaintiff provided, his personal phone number.

Penncro told him it would note the bankruptcy on his file and it would cease its
collection efforts.

On July 6, 2009, Penncro, acting through its agent Defendant John Doe, alias, called
the Plaintiff's mother.

The Plaintiff responded to the call, spoke with Penncro, and restated what he told
Penncro on July 3™.

Penncro asked the Plaintiff for the name and contact information for his bankruptcy
attorney and the Plaintiff provided it to Penncro.

On July 9, 2009, the Plaintiff received a letter Penncro, possibly acting through its
agent Defendant John Doe, alias, sent him attempting to collect the Debt.

The Plaintiff called Penncro and restated what he had told them on July 3“ and July
6".

Count 1 — Federal FDCPA — Unfair Practice

The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.

The Defendants engaged in unfair practices while attempting to collect the Debt from
the Plaintiff.

The Defendants did the following which the Plaintiff asserts constituted unfair
practices:

a. Attempted to collect the Debt in violation of the automatic stay imposed by the
Bankruptcy Code;

b. Attempted to collect the Debt knowing such action was prohibited by the
automatic stay imposed by the Bankruptcy Code;
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c. Called the Plaintiffs mother, a third party, while having the Plaintiffs phone
number; and

d. Attempted to collect the Debt directly from the Plaintiff while knowing he was
represented by an attorney.

The conduct described in this Count violated the FDCPA, specifically 28 USC
1692(f).

As a result of the conduct, the Plaintiff suffered damages including mental suffering,
embarrassment and attorney fees.

Wherefore, the Plaintiff requests judgment against each Defendant for actual damages

pursuant to 28 USC 1692(k)(a)(1), statutory damages in the amount of $1,000 pursuant to 28
USC 1692(k)(a)(2)(A), costs and attorney fees pursuant to 28 USC 1692(k)(a)(3), and for such
other relief as the Court may deem just and appropriate.

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Count 2 — Federal FDCPA — Harassment or Abuse

The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.

The Defendants engaged in harassing and/or abusive conduct while attempting to
collect the Debt from the Plaintiff.

The Defendants did the following which the Plaintiff asserts constituted harassing
and/or abusive conduct:

a. Attempted to collect the Debt in violation of the automatic stay imposed by the
Bankruptcy Code;

b. Attempted to collect the Debt knowing such action was prohibited by the
automatic stay imposed by the Bankruptcy Code;

c. Called the Plaintiffs mother, a third party, while having the Plaintiffs phone
number; and

d. Attempted to collect the Debt directly from the Plaintiff while knowing he was
represented by an attorney.

The conduct described in this Count violated the FDCPA, specifically 28 USC
1692(d).

As a result of the conduct, the Plaintiff suffered damages including mental suffering,
embarrassment and attorney fees.

Wherefore, the Plaintiff requests judgment against each Defendant for actual damages

pursuant to 28 USC 1692(k)(a)(1), statutory damages in the amount of $1,000 pursuant to 28
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USC 1692(k)(a)(2)(A), costs and attorney fees pursuant to 28 USC 1692(k)(a)(3), and for such
other relief as the Court may deem just and appropriate.

Count 3 — Federal FDCPA — Improper Communication - With Third Party

38. The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.

39. The Defendants improperly communicated with someone other than the Plaintiff
and/or the Plaintiffs spouse while attempting to collect the Debt from the Plaintiff.

40. The Defendants did the following which the Plaintiff asserts constituted improper
communication with third parties:

a. Called the Plaintiffs mother, a third party, a second time while having the
Plaintiff's phone number and location information.

41. The conduct described in this Count violated the FDCPA, specifically 28 USC
1692(b)(3) and 28 USC 1692(c)(b).

42. As aresult of the conduct, the Plaintiff suffered damages including mental suffering,
embarrassment and attorney fees.

Wherefore, the Plaintiff requests judgment against each Defendant for actual damages
pursuant to 28 USC 1692(k)(a)(1), statutory damages in the amount of $1,000 pursuant to 28
USC 1692(k)(a)(2)(A), costs and attorney fees pursuant to 28 USC 1692(k)(a)(3), and for such

other relief as the Court may deem just and appropriate.

Count 4 — Federal FDCPA — Improper Communication —Bypassing Attorney

43. The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.

44. The Defendants improperly communicated with the Plaintiff while attempting to
collect the Debt from him.

45. The Defendants did the following which the Plaintiff asserts constituted improper
communication with him:

a. Communicated with him knowing he was represented by an attorney and having
that attorney’s contact information.
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46. The conduct described in this Count violated the FDCPA, specifically 28 USC
1692(b)(6).

47. As aresult of the conduct, the Plaintiff suffered damages including mental suffering,
embarrassment and attorney fees.

Wherefore, the Plaintiff requests judgment against each Defendant for actual damages
pursuant to 28 USC 1692(k)(a)(1), statutory damages in the amount of $1,000 pursuant to 28
USC 1692(k)(a)(2)(A), costs and attorney fees pursuant to 28 USC 1692(k)(a)(3), and for such
other relief as the Court may deem just and appropriate.

Count 5 — Federal FDCPA — Improper Communication — With Debtor

48. The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.

49. The Defendants improperly communicated with the Plaintiffs while attempting to
collect the Debt from him.

50. The Defendants did the following which the Plaintiff asserts constituted improper
communication with him:

a. Communicated with him at a place it knew was inconvenient to him, specifically
at his mother’s phone number; and

b. Communicated with him knowing he had an attorney and while having the
attorney’s contact information.

51. The conduct described in this Count violated the FDCPA, specifically 28 USC
1692(c)(a)(1) and (2).

52.  Asaresult of the conduct, the Plaintiff suffered damages including mental suffering,
embarrassment and attorney fees.

Wherefore, the Plaintiff requests judgment against each Defendant for actual damages
pursuant to 28 USC 1692(k)(a)(1), statutory damages in the amount of $1,000 pursuant to 28
USC. 1692(k)(a)(2)(A), costs and attorney fees pursuant to 28 USC 1692(k)(a)(3), and for such
other relief as the Court may deem just and appropriate.

Count 4 — State — Deceptive Trade Practice

53. The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.
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John Doe, alias, placed a call, or calls, to the Plaintiff, and/or sent him a letter, while
acting within the scope of his employment with Penncro and in furtherance of
Penncro’s business interests.

Penncro did not have, or did not enforce, policies and procedures to prevent its agents
from conducting themselves in the way John Doe, alias, behaved towards the
Plaintiff.

Penncro’s conduct, and the conduct of its agents, as described in this Complaint
constituted “unfair or deceptive acts or practices” as that term is defined in the Rhode
Island DTPA at RIGL 6-13.1-1(6)(xiti).

Penncro’s conduct as described in this Complaint was prohibited by the DTPA at
RIGL 6-13.1-2.

Penncro’s conduct as described in this Complaint was deliberate, and/or outrageous,
and/or reckless.

As a result of Penncro’s conduct, the Plaintiff suffered damages including mental
suffering and attorney fees.

Wherefore, the Plaintiff requests judgment against each Defendant for 1) actual damages

pursuant to RIGL 6-13.1-5.2(a); 2) statutory damages in the amount of $200 pursuant to RIGL
6-13.1-5.2(a); 3) costs and attorney fees pursuant to RIGL 6-13.1-5.2(d); 4) punitive damages,
and 5) such other relief as the Court may deem just and appropriate.

The Plaintiff,
By Counsel,

Mp.
John T. Longo, Esq./#4928
681 Smith Street
Providence, RI 02908
(401) 272-2177

Fax (401) 537-9185
jtlongo@jtllegal.com

Jury Demand

The Plaintiff demands a trial by jury ao and every count.

 

Tob. Eerigo, Esq/#4928

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